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                                             AGENDA
                               LORAIN COUNTY BOARD OF COMMISSIONERS

                                            MONDAY
                                         JANUARY 9, 2023
                                            9:30 A.M.
                                   ORGANIZATIONAL MEETING

NOTICE:         THE COMMISSIONERS WILL BE LIVE STREAMING THE BOARD MEETING AT
                LorainCounty.us/watch AND You Tube – Lorain County Commissioners

A.     RESOLUTIONS:

#1.    Elect the President of the Board for the year 2023

#2.    Elect the Vice-President of the Board for the year 2023

#3.    Adopt Roberts Rules 12th edition as Parliamentary Procedures to be followed at all Board
       meetings during 2023

#4.    Investments

#5.    Appropriations

#6.    Transfers

#7.    Advances/Repayments

#8.    Requisitions

#9.    Travel

#10.   Bills

B.     Public Comment:         (Please limit comments to 3 minutes – thank-you)

AA.    RESOLUTIONS

#11.   Provide each Wednesday of each month at 9:30 AM as regular Board meeting days for 2023

#12.   Appoint Commissioner _____________ as 9-1-1 Review Board Chairman


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#13.   Appoint the President and/or Alternate to:
       Safety Council – President / Alternate Commissioner Jeff Riddell;
       Data Processing Board – President
       Health Department Board – President / Alternate Commissioner Jeff Riddell
       Solid Waste Policy Committee – President

#14.   Appoint Marty Gallagher to a 4-year term to the Port Authority Board. Term effective January 1, 2023 and
       expires December 31, 2026

#15.   Appoint Daniel S. Gross to a 4-year term to the Port Authority Board. Term effective January 1, 2023 and expires
       December 31, 2026

#16.   Re-appoint John Novak to a 4-year term to the Port Authority Board. Term effective January 1, 2023 and expires
       December 31, 2026

#17.   Authorize various personnel actions as indicated on the summary sheet for employees within the jurisdiction of
       the Lorain County Board of Commissioners (at the conclusion of today’s Board meeting, the Commissioners may
       recess into an Executive Session to discuss: personnel/new hires)

#18.   Adopt the 2023 general fund budget

#19.   Enter into a Loan Agreement with the Lorain County Port Authority in the amount of $13.9 million to enable it to
       close on its purchase of real property consisting of approximately 57.86 acres in Elyria, Ohio and known as the
       Midway Mall and Sears Automotive properties for the purpose of holding, redeveloping and ultimately placing
       such Property back into productive service for the economic benefit of Lorain County. Funds available from
       General Fund account #_____________

#20.   Amend Lorain County health care plan to provide that all County employees and County Plan participants,
       regardless of their employer, shall be eligible to participate in the County Plan on date of hire by the County and
       that participation shall end (subject to legal continuation requirements) on the last day of the month in which a
       participant’s employment with his or her current employer has ended, all effective on the date hereof.

#21.   911:
       Rescind Res#22-909, adopted December 21, 2022 entering into an agreement with Cleveland
       Communications, Inc. to provide goods and services for a public safety radio system on behalf of Lorain County
       911 and will be paid from the Act#ARP capital equipment

#22.   Rescind Res#22-910, adopted December 21, 2022 establishing a set aside of $4,033,542.97 subgrant for
       participating political subdivisions for the Lorain County public radio system to be paid from Acct#ARP other
       expenses

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       Community Development:
#23.   Rescind Res#22-913, adopted December 21, 2022 authorizing the Lorain County Board of Commissioners to
       enter into an agreement with Rudolph Libbe Inc. for community development services

       Sanitary Engineer:
#24.   Award & enter into a contract with Wharton Excavating LLC, W. Salem Ohio in the amount of $59,059.00 for the
       Plum Creek WWTP Surface Sand Filters Media & Underdrain Replacement project. 2 bids received on
       December 15 this being the most responsive complying with specifications. Issue a Notice to Proceed upon full
       execution of the contract authorizing work to begin on or around March 1, 2023 and completed on or before
       September 30, 2023; Authorize Administrator to notify Auditor to release retainage at completion of project and
       will be paid from Acct# Sanitary Capital Equipment

#25    Amend contract total with North Bay Construction for the Cresthaven Homes Wastewater Treatment Plant UV
       Disinfection Conversion from $145,695.00 to $170,105.60. Increase is due to additional work of cutting wier
       wall in chlorine tank and relocation and replacement of flow meter and will be paid from Acct#Sanitary Capital
       Equipment

       Solid Waste:
#26.   Approve the issuance of Waivers from Designation pursuant to a standard form of Waiver Agreement for 1
       calendar year (March 1, 2022 – December 31, 2022) for Rumpke of Norther Ohio Inc., Broadview Heights, Ohio,
       Kimble Recycling & Disposal, Inc., Dover, Ohio, Waste Management of Ohio, Inc./Great Lakes Area., Pete and
       Pete Container Service Inc., Garfield Heights, Ohio, Legacy Waste & Recycling, Inc., Elyria, Ohio, 1-2-3
       Disposal Incorporated, Norton, Ohio and Fabrizi Disposal, Inc., Middleburg Heights, Ohio

       Sheriff:
#27.   Receive & file annual report on fees due and unpaid for more than 1 year prior to January 1, 2023 in accordance
       with ORC 325.31 in the amount of $3,584,675.52

       Airport
#28.   Authorizing a matching grant Application be submitted to the Ohio Department of Transportation Office of
       Aviation for Fiscal Year 2023 Ohio Airport Grant Program to Rehabilitate Runway 7/25, Reconstruct Runway
       7/25 Lighting, Install Vertical/Visual Guidance System, Reconstruct Airport Beacon, Reconstruct Airport
       Lighting Vault

C:     Clerk’s Report:
       #1.    Wednesday, January 18 at 9:30 a.m. – Commissioners Board meeting
       #2.    Thursday, January 19 at 9:30 a.m. – Landbank meeting
       #3.    Tuesday, January 24 at 9:30 a.m. – Stormwater Management District
       #4.    Tuesday, January 24 at 11:00 a.m. – Investment Advisory meeting
       #5.    Wednesday, January 25 at 9:30 a.m. – Commissioners Board meeting

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D:     Board Correspondence:
#1.    January 10 at 5:00 pm., Business After Hours at Whiskeyville Golf Club, 9488 Leavitt Road, Elyria register at
       www.loraincountychamber.com

#2.    Publications: “Counties Current,” “CCAO Statehouse reports,”; “4H Clover Communication; “NACO news”;
       “American Agriculturist”

#3.    Sheriff in compliance with ORC 311.20 monthly itemized account of actual cost of keeping and feeding prisoners
       and other persons placed in his charge for November was 42,807 meals served at a cost of $1.78

#4.    January 25 at 9:00 am, Lorain County Chamber of Commerce New Member Orientation, Desich Entrepreneur
       Center, Room 132, 151 Innovation Drive, Elyria – register at www.loraincountychamber.com




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